
By the Court.—Sedgwick, Ch. J.
After the attachment had been levied upon property of the defendant, the applicants obtained judgment against the defendant. Execution was issued and the sheriff levied it upon the property in his hands, subject to the levy of the attachment. The applicants thereupon moved (§ 682,-Code Civil Procedure) as persons having a lien on the property to vacate the attachment. It was vacated by an order that ordered, that the order of attachment “ be and the same hereby is vacated and set aside upon payment of the fees of the sheriff.” The appellants take the position that they were entitled to an unconditional vacation of the attachment, the court having, no power to impose the performance of the condition.
It appears from general reasoning, that the applicants-were entitled to have their lien, free from the order of, attachment, as of the time it was first issued and before the sheriff had leviéd it and his fees had accrued. It was vacated because of the insufficiency of the affidavits on which it had been granted.
The counsel for appellants supposes that no provision' of the Code gives the right of the sheriff to hold the property for his fees when the attachment is vacated on the application of a person, other than the defendant,, and who has acquired a lien upon the property, urging that section 709 is confined to an application by the de-, fendant. I am inclined to think that this is not correct, because in that section it is made the duty of the sher*422iff “to deliver over to the defendant or to the person entitled thereto ” upon demand and upon payment of his fees, all attached property. This implies that the case of an application of such person, is considered by the section. If this be so, then the first part of the section is to be read “ where a warrant of attachment is vacated or anulled upon the application of the defendant, or any person, etc., or an attachment is discharged upon the application of the defendant,” etc.
But as the counsel shows, the exaction of the section, that a person’s property shall not be delivered to him until he pays fees for which he has no personal liability, is unconstitutional and therefore inoperative. Bowe v. U. S. Reflector Co., 36 Hun, 407; Weston v. Watts, 45 Ib. 219. For like reasons, an order could not competently provide for such an exaction.
I apprehend the true course of practice is, that under section 682 a person making a sufficient application, is entitled to an order vacating the attachment. This order does not directly operate as a mandate to the sheriff that he shall deliver the goods. If there were nothing more, the sheriff would be bound to deliver the goods, because the defendant as the third person would have a right to them, as soon as the attachment was vacated, upon reasonable demand. Such a demand would be necessary if section 709 did not provide for it. Section 709 is not unconstitutional in this respect, or in respect of it making it the duty of the sheriff to deliver the goods or the proceeds. And under that section the performance of the duty may be compelled by order, if before that section there were no such remedy, or if there were.
Upon demand of the property the sheriff may claim fees, and then his right is, for the first, to be determined.
The relevancy of these remarks is perceived, when the fact is noticed that in this case the applicants had no right to a. delivery by the sheriff of the property to them. Their interest was that of a lien by execution. *423The attachment being out of the way, the sheriff was to keep the property in his hands, until he should sell it, in obedience to the execution. This would follow from the attachment being vacated. What he shall do with the proceeds of the sale is a question for the future. The appellants were entitled to a simple vacating of the attachment and to the benefit of the legal consequences.
I understand the sheriff has not been notified of the motion to vacate the attachment. No decision can be made as to his rights.
The plaintiffs, who are respondents, did not oppose the motion to vacate, nor the reversal of the order. Still, they should pay the costs of the motion to vacate, which was made necessary by their procuring the attachment. On the appeal owing to peculiar circumstances, the costs should not be against them.
The order appealed from is reversed, and the motion to vacate granted, with $10, costs of motion and the disbursements of the appeal, which are to be taxed.
Truax, J., concurred.
